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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SANDRA GARZA, individually
and as the personal representative of
THE ESTATE OF BRIAN SICKNICK

Plaintiff,

v.                                                   Civil Action No. 1:23-cv-00038-APM

DONALD J. TRUMP, ET. AL.

Defendants.



                                  NOTICE OF APPEARANCE

        WILL THE CLERK PLEASE note the appearance of undersigned counsel, being

admitted and authorized to practice before this Court, as counsel of record for the Defendant,

Julian Elie Khater in the above captioned matter.

                                                      Respectfully Submitted,

                                                      /s/David P. Sheldon
                                                      David P. Sheldon (DC Bar # 446039)
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